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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS


 JOHN TAGGART,

                                Plaintiff,                    Docket No. 4:20-cv-406

        - against -                                           JURY TRIAL DEMANDED

 GRAHAM MEDIA GROUP, INC.

                                Defendant.


                                          COMPLAINT

       Plaintiff John Taggart (“Taggart” or “Plaintiff”) by and through his undersigned counsel,

as and for his Complaint against Defendant Graham Media Group, Inc. (“Graham Media” or

“Defendant”) hereby alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendant’s unauthorized reproduction and public display of a

copyrighted photograph of the banana from Art Basel, owned and registered by Taggart, a

professional photographer. Accordingly, Taggart seeks monetary relief under the Copyright Act

of the United States, as amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       3.      This Court has personal jurisdiction over Defendant because Defendant resides

and/or transacts business in Texas.
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       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                             PARTIES

       5.      Taggart is a professional photographer in the business of licensing his

photographs to online and print media for a fee having a usual place of business at 180 Prospect

Place, At 4B, Brooklyn, New York 11238.

       6.      Upon information and belief, Graham Media is a domestic business corporation

duly organized and existing under the laws of the State of Delaware, with a place of business at

8181 Southwest Freeway, Houston, Texas 77074. Upon information and belief, Graham Media is

registered with the Texas Department of Corporations to do business in Texas. At all times

material, hereto, Graham Media has owned and operated a website at the URL:

www.ClickOrlando.com (the “Website”).

                                    STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Photograph

       7.      Taggart photographed the banana from Art Basel (the “Photograph”). A true and

correct copy of the Photograph is attached hereto as Exhibit A.

       8.      Taggart is the author of the Photograph and has at all times been the sole owner of

all right, title and interest in and to the Photograph, including the copyright thereto.

       10.     The Photograph was registered with the United States Copyright Office and was

given registration number VA 2-187-181.

       B.      Defendant’s Infringing Activities

       11.     Graham Media ran an article on the Website entitled Banana duct-taped to wall

sells for $120k at Miami’s Art Basel. See:
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https://www.clickorlando.com/news/local/2019/12/07/banana-duct-taped-to-wall-sells-for-120k-
at-miamis-art-basel/. The article featured the Photograph. A true and correct copy of the

Photograph on the article and a screenshot of the Photograph on the Website are attached hereto

as Exhibit B.

        12.     Graham Media did not license the Photograph from Plaintiff for its article, nor did

Graham Media have Plaintiff’s permission or consent to publish the Photograph on its Website.

                               CLAIM FOR RELIEF
                  (COPYRIGHT INFRINGEMENT AGAINST GRAHAM MEDIA)
                               (17 U.S.C. §§ 106, 501)


        13.     Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-12 above.

        14.     Graham Media infringed Plaintiff’s copyright in the Photograph by reproducing

and publicly displaying the Photograph on the Website. Graham Media is not, and has never

been, licensed or otherwise authorized to reproduce, publically display, distribute and/or use the

Photograph.

        15.     The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

        16.     Upon information and belief, the foregoing acts of infringement by Graham

Media have been willful, intentional, and purposeful, in disregard of and indifference to

Plaintiff’s rights.

        17.     As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.
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       18.    Alternatively, Plaintiff is entitled to statutory damages up to $150,000 per work

infringed for Defendant’s willful infringement of the Photograph, pursuant to 17 U.S.C. § 504(c).

       19.    Plaintiff further is entitled to his attorney’s fees and full costs pursuant to

17 U.S.C. § 505.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests judgment as follows:

       1.     That Defendant Graham Media be adjudged to have infringed upon Plaintiff’s

              copyrights in the Photograph in violation of 17 U.S.C §§ 106 and 501;

       2.     Plaintiff be awarded either: a) Plaintiff’s actual damages and Defendant’s profits,

              gains or advantages of any kind attributable to Defendant’s infringement of

              Plaintiff’s Photograph; or b) alternatively, statutory damages of up to $150,000

              per copyrighted work infringed pursuant to 17 U.S.C. § 504;

       3.     That Defendant be required to account for all profits, income, receipts, or other

              benefits derived by Defendant as a result of its unlawful conduct;

       4.     That Plaintiff be awarded his costs, expenses and attorneys’ fees pursuant to

              17 U.S.C. § 505;

       5.     That Plaintiff be awarded pre-judgment interest; and

       6.     Such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).

Dated: Valley Stream, New York
       February 5, 2020
                                                              LIEBOWITZ LAW FIRM, PLLC
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